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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 11-20100-CR-SEITZ

 UNITED STATES OF AMERICA,
      Plaintiff,

 v.

 JAMES EDWARDS,
      Defendant.
 ___________________________/

                            REPORT AND RECOMMENDATION

       On or about July 12, 2012, court-appointed defense counsel Franz A. Parke

 (“Counsel”) submitted a voucher application numbered FLS 11 2315 with appended time

 sheets requesting $19,820.15 as final payment for attorney’s fees and costs pursuant to the

 Criminal Justice Act (the “CJA”). Counsel also submitted a letter dated July 12, 2012 in

 support of his voucher application.

       Counsel represented Defendant James Edwards (“Defendant”) for sixteen months

 from his appointment on March 3, 2011 until June 28, 2012 and seeks compensation for this

 time in the voucher application. Counsel seeks $19,820.15 in his application, an amount

 which exceeds the $9,700.00 statutory maximum allowed for representation in non-capital

 felony cases under the CJA. As a result, United States District Court Judge Patricia A. Seitz

 entered an Order of Reference [DE # 1177] referring the voucher application to the

 undersigned for a Report and Recommendation as to whether the fees requested by Counsel

 are appropriate. See 28 U.S.C. § 636(a); see also United States District Court for the

 Southern District of Florida Magistrate Judge Rules.
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                 Criminal Justice Act and Guidelines for Administering
                                the Criminal Justice Act

        The United States Judicial Conference developed the Guidelines for Administering the

 CJA and Related Statutes (the “Guidelines”) to assist courts in the application of the

 provisions of the CJA. See In re Burger, 498 U.S. 233, 234, 111 S.Ct. 628 (1991). In the

 Guidelines, judges are “urged to compensate counsel at a rate and in an amount sufficient

 to cover appointed counsel’s general office overhead and to ensure adequate compensation

 for representation provided.” See Section §630.20 of the Guidelines.

        The CJA at 18 U.S.C. §3006A(d)(1) provides that at the conclusion of CJA

 representation, an appointed attorney shall be compensated for time expended in court and

 for time “reasonably expended out of court” and shall be reimbursed “for expenses

 reasonably incurred.” The district court, as the body empowered to "fix" CJA appointed

 counsel compensation, has the statutory authority and discretion to determine what is a

 reasonable expense or a reasonable use of billable time. 18 U.S.C. §3006A(d)(5); U.S. v.

 Griggs, 240 F.3d 974 (11th Cir. 2001). In order for the recommended fee amount to exceed

 the statutory maximum, however, the district court must first certify that the case involves

 “complex” or “extended” representation. 18 U.S.C. §3006A(d)(3). Second, the district court

 must conclude that the amount is necessary to provide Counsel with fair compensation.

        A case may be considered “complex” if the legal or factual issues in a case are

 unusual, thus requiring the expenditure of more time, skill and effort by the lawyer than would

 normally be required in an average case. See Section §230.23.40(b) of the Guidelines. A

 case may be considered “extended” if more time is reasonably required for total processing

 than the average case, including pre-trial and post-trial hearings. Id.


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                                        DISCUSSION

                                  This Case Was Complex

       Under the Guidelines, in order to approve a request for compensation in excess of the

 statutory maximum, I must first find that the representation was either complex and extended.

 This case was both complex and extended.

       First, the very nature and number of charges involved in this case required Counsel

 to expend more time, skill and effort than normally required in the average case. This case

 originally commenced when the grand jury returned an Indictment [DE # 3] charging a total

 of twenty defendants with numerous crimes including conspiracy to commit health care fraud,

 conspiracy to receive and pay health care kickbacks, health care fraud, money laundering,

 conspiracy to commit money laundering and structuring to avoid reporting requirements.

       Defendant was specifically named in Counts I, XIII and XIV. In Count I, Defendant was

 charged with conspiracy to commit health care fraud in violation of 18 U.S.C. § 1341. In

 Count XIII, Defendant was charged with conspiracy to receive and pay health care kickbacks

 in violation of 18 U.S.C. § 371. In Count XIV, Defendant was charged with conspiracy to

 commit money laundering in violation of 18 U.S.C. § 1956(h).

       Defendant faced a separate maximum term of ten years imprisonment for the

 conspiracy to commit health care fraud charge. Defendant faced a term of five years

 imprisonment on the conspiracy to receive and pay health care kickbacks and twenty years

 imprisonment on the conspiracy to commit money laundering charge. Counsel later entered

 a plea of guilty to Count I and XIII. [See DE # 514]. He was sentenced to concurrent terms

 of 84 months followed by three years supervised release. [See DE # 1094].


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       Second, discovery was voluminous in this case. The sheer volume of evidence which

 Counsel had to review in order to effectively represent Defendant rendered this case more

 complex than the average case. Third, as Counsel explained, he worked with three Assistant

 United States Attorneys in this matter. Counsel further explained that Defendant actually

 faced two separate cases that “ran together and were disposed of together.” (July 12, 2012

 letter). Accordingly, Counsel incurred more time spent in this case than in the average case.

       It is clear from the record that the legal and factual issues in this case were unusual.

 Consequently, I conclude that this matter required the expenditure of more time, skill and

 effort by Counsel than would normally be required in the average case. I also find that the

 second factor which would allow the Court to certify compensation in an amount in excess

 of the statutory maximum - that representation in this case was extended - is also met here.

       The original Indictment in this matter was returned on February 8, 2011. [See DE # 3].

 On July 13, 2011, Defendant pled guilty to Counts I and XIII of the Indictment. [See DE #

 514]. Defendant was sentenced on June 28, 2012. [See DE # 1094].

       Although Defendant eventually pled guilty in this case, Counsel represented Defendant

 for more than one year. This case did require more time for processing than the average

 case, and as a result, this case is properly be considered extended. As I have concluded that

 this matter was complex and the representation provided by Counsel was extended, I must

 now review the voucher to determine the appropriate amount for which Counsel should be

 compensated in excess of the $9,700.00 statutory maximum.




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                        Voucher Amount - Administrator’s Review

        The Court’s CJA administrator first reviewed the voucher for compliance with the

 Guidelines and mathematical accuracy prior to my review. Counsel requested compensation

 for 3.8 in-court hours totaling $475.00.

        The CJA administrator also reviewed the 149.5 out-of-court hours sought by Counsel.

 Counsel sought compensation for 66.5 hours for “Interviews and conferences” and 26.5 hours

 for “Obtaining and reviewing records.” Counsel also sought compensation for 5.0 hours for

 “Legal research and brief writing” and 39.0 hours for “Travel time.” Further, Counsel sought

 12.5 hours for “Investigative and other work.” Finally, Counsel sought $657.40 in Travel

 Expenses.”

                                      In-Court Hours1

        Counsel sought compensation for 3.8 in-court hours totaling $475.00. The CJA

 administrator made no changes to either the total number of in-court hours or the total

 amount of compensation sought for this time. I approve $475.00 as reasonable.

                                     Out-of-Court Hours

        In the voucher, Counsel sought compensation for 149.5 out-of-court hours. The CJA

 administrator reviewed the voucher and made one small change to the number of out-of-court

 hours claimed by Counsel. The CJA administrator slightly increased the number of hours

 listed by counsel for “Interviews and conferences” to 70.5 (from 66.5). This increased the

 number of out-of-court hours to 153.50 and increased the total amount of out-of-court hours


           1

          The undersigned defers to the Court Clerk to verify all in-court time and expense
    allowances.

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 to $18,687.75.

        Counsel included some entries that were not sufficiently specific for the undersigned

 to determine the purpose of the entries. I recommend that these entries be reduced:



               3/3/2011      Telephone call with prosecutor             0.2 hours
                                                                        [reduce to 0.1 hour]

               3/19/2011     Telephone call with prosecutors            0.5 hours
                                                                        [reduce to 0.1 hour]

               6/7/2011      Telephone call with prosecutor             0.3 hours
                                                                        [reduce to 0.1 hour]

               7/6/2011      Telephone call with AUSA                   0.2 hours
                                                                        [reduce to 0.1 hour]

               7/20/2011     Telephone probation                        0.2 hours
                                                                        [reduce to 0.1 hour]

               8/15/2011     2 calls AUSA, 1 call probation, 1 call     0.8 hours
                             employer                                   [reduce to 0.3 hours]

               8/16/2011     2 calls AUSA, 1 call probation             0.3 hours
                                                                        [reduce to 0.2 hours]

               5/15/2012     Telephone call with client’s doctor        0.2 hours
                                                                        [reduce to 0.1 hour]

               6/20/2012     Telephone call client, probation,          1.3 hours
                             client’s doctor                            [reduce to 0.6 hours]


        These entries are not sufficiently detailed to justify compensation in the amount

 requested by Counsel. The “Supplemental Instructions for Completing CJA20 Vouchers”

 form (the “Supplemental Instructions”) provided by the Court is instructive in this regard. The

 form provides that“[t]elephone conferences in excess of one tenth (0.1) hour require notation



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 of reason for duration, and parties to conversation identified.” Although Counsel identified

 the parties to each conference listed above, Counsel failed to explain the reason for the

 duration of the conferences in excess of 0.1 hour.

        Accordingly, I recommend that these entries should be reduced by a total of 2.3 hours,

 compensating Counsel for 0.1 hour for each of the above described entries. This results in

 a total reduction of $287.50.

        Counsel also included other problematic entries. Counsel included a number of entries

 for time spent dealing with Defendant’s family. Specifically, I recommend that Counsel not

 be compensated for the following entries:



               3/3/2011      Telephone call from client’s             0.2 hours
                             daughter

               3/7/2011      Telephone call from client’s             0.2 hours
                             daughter

               3/8/2011      Telephone call from client’s             0.3 hours
                             daughter

               4/25/2011     Meeting with bond co-signor              1.0 hour


        These entries are not eligible for compensation under the CJA because the

 Supplemental Instructions form makes clear that “[s]ervices of a personal nature, such as

 assisting the defendant in the disposition of his/her personal property, or providing legal

 assistance in matters unrelated to the litigation of the case even though incidental to the

 defendant’s arrest, are not compensable.” Time spent conversing with Defendant’s family

 members or explaining a bond to a co-signor is “hand holding” that is not compensable under


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 the CJA because it is not time which contributes to Defendant’s defense. Eliminating these

 entries results in a reduction of 1.7 hours totaling $212.50.

          Lastly, Counsel also included a number of entries seeking compensation for clerical

 tasks.

                3/31/2011     drafting and filing of motion               0.5 hours
                                                                          [reduce to 0.4 hours]

                5/18/2011     drafting and filing notice                  0.2 hours
                                                                          [reduce to 0.1 hour]

                8/17/2011     Filing motion                               0.2 hours
                                                                          [reduce to 0.1 hour]

                12/5/2011     Drafting and filing notice                  0.2 hours
                                                                          [reduce to 0.1 hour]

                12/20/2011    Draft and file motion/ modify               0.3 hours
                              conditions of release                       [reduce to 0.2 hour]



          I recommend that the above entries be reduced because clerical duties are also not

 compensable under the CJA. The Guidelines make clear that “[e]xcept in extraordinary

 circumstances, whether work is performed by counsel or other personnel, the following

 expenses associated with CJA representation are not reimbursable: personnel; rent;

 telephone service; and secretarial.”         Section §230.66.10(b) of the Guidelines. The

 Supplemental Instructions further provide that “[c]lerical work (copying, faxing, mailing, etc.)

 associated with CJA representation, whether work is performed by counsel or other

 personnel, is not reimbursable.” Accordingly, I recommend that the voucher be reduced by

 0.5 hours for a total of $62.50 for the above listed clerical entries.




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        I conclude that these reductions result in fair compensation for Counsel. I find that

 the remaining out-of-court hours (as adjusted by the CJA administrator) in the voucher

 application are appropriate. Factoring in all of the deductions described above, I recommend

 that Counsel should be paid $18,625.00 for his out-of-court hours.

        In making this recommendation, I have been mindful that when considering awards

 to Counsel under the CJA, courts have long recognized that there is an inherent tension

 between the policies underlying the CJA: “[o]n the one hand, representing indigent

 defendants is a form of public service; thus, the [CJA] was never intended to provide full

 compensation for an attorney’s services or to provide fees equal to those charged in private

 practice. . . . On the other hand, the Act was also intended to provide indigent defendants with

 meaningful representation by competent counsel”. United States v. Mukhtaar, 2008 WL

 2151798, at * 2 (S.D. N.Y. May 21, 2008) (citations omitted).

        As other courts have explained, the CJA “was intended to partially alleviate the

 financial burden associated with provision of these services which had been traditionally

 provided pro bono. The spirit of the statute is lost once the CJA representation of indigent

 defendants loses its essentially pro bono nature.” United States v. Diaz, 802 F.Supp. 304,

 307 (C.D. Cal. 1992) (quoting United States v. Carnevale, 624 F.Supp. 381, 383 (D. R.I.

 1985)). In considering these principles with respect to the instant case, I conclude that an

 award of $18,625.00 for out-of-court hours, is fair, although admittedly not full compensation

 for Counsel’s services.




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                                           Expenses

         Counsel sought $657.40 in “Travel Expenses.” The CJA administrator slightly reduced

  this amount to $603.86. I hereby approve the amount of $603.86 in “Travel Expenses.”

                                         CONCLUSION

         I commend Counsel for his professionalism and willingness to take this appointment;

  the undersigned is appreciative of his efforts in this case. As I explained above, because the

  representation in this case was complex, I recommend that Counsel be reimbursed for an

  amount in excess of the statutory maximum of $9,700.00.

         Based upon my review of the time sheets, the Motion, the docket and filings in this

  case, I RECOMMEND that Counsel be paid $19,703.86 as fair and final compensation for his

  work in this case.

         In accordance with 28 U.S.C. §636(b)(1), the parties shall have fourteen (14) days

  from receipt of this Report and Recommendation to serve and file any written objections with

  the Honorable Patricia A. Seitz, United States District Judge.


                                            Signed this 27th day of December, 2012.




                                            PETER R. PALERMO
                                            SR. UNITED STATES MAGISTRATE JUDGE

  Copies furnished to:

         Franz A. Parke, Esq.
         Lucy Lara, CJA administrator



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